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9 FAM APPENDIX L, 216 (U) WHAT IS THE
VISA LOOKOUT ACCOUNTABILITY (VLA)
POLICY FOR AUTOMATED BIOMETRIC
IDENTIFICATION (IDENT)?
(CT:VISA-1797;    01-24-2012)
(SBU) Similar to the CLASS system, the Visa Lookout Accountability (VLA)
procedures for IDENT require you to check the Watchlist and Recidivist hits
for each applicant and ensure that they contain no basis for a finding of visa
ineligibility. The NIV and IVO systems have been programmed so that no
visa can be printed until an officer has adjudicated all Watchlist and
Recidivist hits and documented a reason a visa was issued despite a
Watchlist or Recidivist hit (waiver, SAO response, not the same person,
etc.). If you fail to follow the procedures in processing an application for
which the system contains adverse information, a VLA violation will occur.
In this regard, comments entered in an IDENT record by a CBP officer are
not binding on a consular officer as a finding of inadmissibility/ineligibility
unless there is a corresponding entry in TECS/CLASS with the refusal code.
The lack of a TECS/CLASS entry does not, however, excuse the officer from
considering the information in the notes and resolving a possible ineligibility
appropriately in accordance with FAM guidance. For IDENT cases, selection
of Adverse, Not Adverse, or Waived when adjudicating a Watchlist or
Recidivist hit constitutes certification for VLA purposes.
